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                     UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


SANJAY TYAGI, ALKA JAGATIA, and              )
A.T., a minor,                               )
                                             )
            Plaintiffs,                      )
                                             )
            v.                               )
                                             )
GEORGE SHELDON, MARCO I. DJURSIC             )      No. 16 C 11236
DONALD JONKER, LAWRENCE ALBERG,              )
DEANNA LARGE, NORA HARMS PAVELSKI,           )      Judge Thomas M. Durkin
STEVIE LEMON, ERAINA ROSS BURLESON,          )
MARISOL RUBINO, SYLVIA TORRES                )
STEPHENS, ANN & ROBERT H. LURIE              )
CHILDREN’S HOSPITAL OF CHICAGO, ANN &        )
ROBERT H. LURIE CHILDREN’S HOSPITAL          )
OF CHICAGO FOUNDATION, PEDIATRICS            )
FACULTY FOUNDATION INC., CHILDREN’S          )
HOSPITAL OF CHICAGO MEDICAL CENTER,          )
LURIE CHILDREN’S MEDICAL GROUP LLC,          )
LEON EPSTEIN, ALMA BICKNESE, MELISSA         )
CIRRILLO, LAUREN MARSILLIO, RANA             )
MAFEE, AND JOHN DOES 1-100,                  )
                                             )
            Defendants.                      )


                     MEMORANDUM OPINION & ORDER

      Pro se plaintiffs Sanjay Tyagi and Alka Jagatia (“the plaintiffs”) are married.

Their minor son and co-plaintiff, A.T., has had a number of seizures over the last

several years. The plaintiffs disagreed with A.T.’s doctors—defendants Leon

Epstein, Alma Bicknese, Melissa Cirrillo, Lauren Marsillio, and Rana Mafee (“the

doctor defendants”)—on the appropriate course of treatment for A.T.’s seizures after
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his admission to Defendant Lurie Children’s Hospital1 (Lurie’s) for status

epilepticus. That disagreement ultimately led an unnamed employee at Lurie’s to

initiate a referral to the Illinois Department of Child and Family Services (“DCFS”).

Three DCFS social workers—Defendants Eraina Ross Burleson, Marisol Rubino,

and Sylvia Torres Stephens (“the social worker defendants”)—were assigned to

investigate allegations of medical neglect.2

        At the conclusion of their investigation, the social worker defendants

determined that the allegations of medical neglect were supported by “credible

evidence,” and a report was filed against the plaintiffs in the State Central Register

(“SCR”), of which Defendant Deanna Large is alleged to be the administrator. A.T.

was never removed from the plaintiffs’ custody, but at some point he began

following the doctor defendants’ recommended course of treatment, presumably over

the plaintiffs’ objections.




1      Drs. Epstein, Bicknese, Cirrillo, and Marsillo are alleged to work at Lurie’s,
and Dr. Mafee is alleged to work at non-defendant APAC Center of Pain
Management. The complaint names a number of entities in addition to the hospital
itself as “directly or indirectly employ[ing] the above doctors.” Those entities are
Defendants Ann & Robert H. Lurie Children’s Hospital of Chicago Foundation,
Pediatrics Faculty Foundation Inc., Children’s Hospital of Chicago Medical Center,
and Lurie Children’s Medical Group LLC. They are referred to collectively as “the
corporate defendants.”
2      The complaint also names Nora Harms Pavelski, the Deputy Bureau Chief of
DCFS, and Stevie Lemon, a supervisor in the Department of Child Protection.
Other than identifying them by their job titles, the complaint is silent as to their
role in this case. The Court infers from their titles that they are alleged to have
played a supervisory role in the social worker defendants’ investigation.

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        The   plaintiffs   appealed   the   credible   evidence   finding   and   sought

expungement of their record in the SCR through DCFS’s administrative review

process. DCFS was represented by Defendants Donald Jonker and Lawrence Alberg

(“the attorney defendants”) during that appeal. Following an evidentiary hearing,

Defendant Marco Djurisic, the presiding Administrative Law Judge, sustained the

report of medical neglect, finding that it was supported by a preponderance of the

evidence. He recommended to the then-Director of DCFS, Defendant George

Sheldon, that the report of medical neglect should remain on file in accordance with

DCFS rules, and that the plaintiffs’ request for expungement should be denied.

Former-Director Sheldon summarily adopted Judge Djurisic’s ruling and followed

his administrative recommendations. In a letter to the plaintiffs notifying them of

Former-Director Sheldon’s decision, they were advised of their right to seek judicial

review in the state circuit court.

        On December 9, 2016, the plaintiffs filed a 91-page complaint in federal court

against the defendants identified above and 100 John Does. The complaint asserts

seven claims for relief, several with multiple subparts.3 According to the complaint,

“[t]his action arises under the First, Fourth, Sixth and Fourteenth Amendments to


3      The plaintiffs appear to have attempted to file the complaint as a class action
lawsuit on behalf of themselves and “all others similarly situated.” R. 1 (Compl.) at
1. But their civil cover sheet does not check the required box for class actions, R. 2,
and the complaint does not allege any of the prerequisites to filing on behalf of a
class set forth in Federal Rule of Civil Procedure 23(a). In the absence of any
plausible allegations that a certifiable class exists, and because the plaintiffs need
counsel in order to pursue a class suit, see Howard v. Pollard, 814 F.3d 476, 478
(7th Cir. 2015), the Court will treat the lawsuit as an action by and on behalf of the
individual plaintiffs only.

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the United States Constitution and under federal law, particularly 42 U.S.C.

§ 1983,” and so falls within the subject matter jurisdiction of this Court pursuant to

28 U.S.C. § 1331 and 28 U.S.C. § 1343.4 R. 1 ¶ 6. The complaint also invokes the

Court’s supplemental jurisdiction over several state law claims pursuant to 28

U.S.C. § 1367.5

        Former-Director Sheldon, Judge Djurisic, the attorney defendants, the social

worker defendants and their supervisors (collectively, “the DCFS defendants”), and

Dr. Mafee, Dr. Epstein, Dr. Bicknese, Dr. Cirrillo, Dr. Marsillio, Lurie’s, and the

corporate defendants (collectively “Dr. Mafee and the Lurie defendants”) separately

move to dismiss the complaint in its entirety. Although their reasoning differs, both

groups of defendants argue that: (1) the claims advanced against them have not

been pled with the particularity required by the Federal Rules of Civil Procedure;

(2) they are immune from suit; and (3) the plaintiffs have failed to allege facts




4      The complaint also purports to state claims under criminal statutes 18 U.S.C.
§§ 241 and 242. See, e.g., R. 1 (Compl.) ¶¶ 1, 7. “[I]t is well settled no private right of
action inheres in those criminal provisions.” Pawelek v. Paramount Studios Corp.,
571 F. Supp. 1082, 1083 (N.D. Ill. 1983) (citing Aldabe v. Aldabe, 616 F.2d 1089,
1092 (9th Cir. 1980) (per curiam)). In addition, the complaint incorrectly alleges
subject-matter jurisdiction pursuant to 28 U.S.C. § 1332. See, e.g., R. 1 ¶¶ 2, 7, 12-
15. The parties are not diverse; they are all residents of the state of Illinois. Finally,
the plaintiffs’ citations to 28 U.S.C. §§ 1441, 1443 and 1446, see R. 1 ¶¶ 2, 7, 12-15,
are also incorrect because, among a number of other reasons, this case has not been
removed from state court.
5     The Rooker-Feldman doctrine, which deprives the federal district courts of
appellate jurisdiction over state court judgments, does not apply to bar collateral
review of administrative decisions. See Van Harken v. City of Chicago, 103 F.3d
1346, 1348 (7th Cir. 1997).

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sufficient state a plausible claim against them. R. 117 (the DCFS defendants); R.

115 (Dr. Mafee and the Lurie defendants).

                            Preliminary Admonitions

      Several procedural issues must be addressed before the Court can reach the

merits of the pending motions. All parties, including parties proceeding pro se, are

required to comply with the Federal Rules of Civil Procedure, the local rules of this

district, and the rules of this Court. All of these rules are available on the public

website for the United States District Court for the Northern District of Illinois. The

parties are instructed to consult these rules, including the rules setting forth

formatting and searchability requirements for electronic filings, page limits,

citations to unpublished opinions, and rules regarding providing courtesy copies to

chambers. The parties are also instructed to review and comply with rules

pertaining to motion practice, including pre-filing meet-and-confer requirements

and post-filing notice procedures. Pro se parties may wish to contact the District

Court’s Self-Help Assistance Program to ensure compliance with all applicable

rules. See R. 147 (setting forth instructions on how to make an appointment).

      With respect to page limits, if a party requires pages beyond the number

permitted by the local rules, that party must seek leave from this Court to file an

oversized brief by filing a motion. Shrinking margins, changing spacing, or

adjusting font size does not make a brief compliant if the margins, spacing, and font

size do not comport with local formatting rules. When requesting leave to file an

oversized brief, a party must inform the Court why it is unable to argue its position



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in the number of pages the rules allow. Only in exceptional circumstances will

oversized briefs be warranted and therefore allowed.

      Importantly, all authority relevant to a motion must be cited in that motion

within permitted page limits. If a party wishes to file additional authority in

support of a pending motion after its brief has been filed, the party must seek leave

to do so, explaining in its motion for leave why the authority was not cited in the

first instance. The Court is capable of conducting its own legal research. To that

end, decades-old judicial opinions may not be the subject of a motion to file

additional authority. The Court will consider permitting parties to submit judicial

opinions issued after the filing of their briefs, but only if they control or are directly

relevant to the resolution of a contested issue. If leave to file such authority is

granted, it should be filed without annotation or explanation.

      Further, no party may file any documents in support of a motion that has

been denied or in contravention of a ruling of this Court. For example, if the Court

has stayed discovery, a party may not file a motion to compel the production of

records or to appoint an expert witness (which the Court usually cannot do in any

event). In the same vein, if the Court has ruled that it is premature to rule on

evidentiary matters, a party should not seek such a ruling until the procedural

posture of the case has changed or unless the party has sought and been granted

leave of court to file such a request. Finally, the Court does not accept any

documents filed simply for its education, particularly if they have little to nothing to

do with the allegations in the case. And all meet-and-confer, electronic filing, and



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notice requirements apply to motions for leave to deviate from any applicable rules

or court orders.

      The Lurie defendants have moved to strike all non-compliant filings from the

docket. R. 182. Although their concerns are well-taken, in light of the greater

leniency permitted to pro se plaintiffs, the Court denies the motion. But the parties

are hereby on notice that failure to comply with the rules will, from this point

forward, result in the immediate striking of any non-compliant filings from the

docket. Continual and willful non-compliance may result in harsher sanctions.

                                      Standard

      A Rule 12(b)(6) motion challenges the sufficiency of the complaint. E.g.,

Hallinan v. Fraternal Order of Police of Chi. Lodge No. 7, 570 F.3d 811, 820 (7th

Cir. 2009). A complaint must provide “a short and plain statement of the claim

showing that the pleader is entitled to relief,” Fed. R. Civ. P. 8(a)(2), sufficient to

provide defendant with “fair notice” of the claim and the basis for it. Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 555 (2007). This standard “demands more than an

unadorned, the-defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009). While “detailed factual allegations” are not required, “labels

and conclusions, and a formulaic recitation of the elements of a cause of action will

not do.” Twombly, 550 U.S. at 555. The complaint must “contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 570). “‘A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw



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the reasonable inference that the defendant is liable for the misconduct alleged.’”

Mann v. Vogel, 707 F.3d 872, 877 (7th Cir. 2013) (quoting Iqbal, 556 U.S. at 678). In

applying this standard, the Court accepts all well-pleaded facts as true and draws

all reasonable inferences in favor of the non-moving party. Mann, 707 F.3d at 877.

        In evaluating a pro se complaint, the Court applies a less stringent standard

than it applies to formal pleadings drafted by lawyers. Smith v. Dart, 803 F.3d 304,

309 (7th Cir. 2015). But the Court need not ignore facts set forth in the complaint

that undermine the plaintiff’s claim, nor is the Court required to accept the

plaintiff’s legal conclusions. Johnson v. Thompson-Smith, 203 F. Supp. 3d 895, 900

(N.D. Ill. 2016).

                                Factual Background

        Reading the 91-page pro se complaint broadly, as the Court must, and

incorporating any facts consistent with the allegations in the complaint set forth in

the plaintiffs’ response briefs and additional filings,6 the Court understands the

relevant factual allegations as follows.7



6     A motion under Rule 12(b)(6) can be based “on the complaint itself,
documents attached to the complaint, documents that are critical to the complaint
and referred to in it, and information that is subject to proper judicial notice.”
Geinosky v. City of Chicago, 675 F.3d 743, 745 n.1 (7th Cir. 2012) (citations
omitted). The Court therefore considers the complaint, R. 1, and the Opinion and
Recommendation of Administrative Law Judge, R. 125, which is extensively
referenced in the complaint, see, e.g., R. 1 ¶¶ 120-122, and of which the Court may
take judicial notice, see Park Superintendents’ Prof’l Ass’n v. State of Illinois, 1998
WL 525810, at *2 (N.D. Ill. Aug. 18, 1998) (citing Doherty v. City of Chicago, 75 F.3d
318, 324 n. 4 (7th Cir. 1996)).

       And, although a plaintiff may not amend its complaint by way of a response
brief, see Shanahan v. City of Chicago, 82 F.3d 776, 781 (7th Cir. 1996), nothing
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        A.T. has had at least four seizures in his life. See R. 1. ¶¶ 60, 68, 103

(referring to four “provoked seizures”). At least two of those seizures have been

classified as “status epilepticus.”8 See R. 125 at 5-8. The plaintiffs believe that the

doctors at Lurie’s either misdiagnosed or insufficiently investigated the cause of

A.T.’s seizures. See, e.g., R. 1. ¶¶ 60, 68, 103. They dispute that A.T. has epilepsy;

they consider each of his seizures to have been “provoked” by different

circumstances including “(1) Strep throat (2) Persistent diarrhea for 15-20 days (3)

high fever (4) Overheated and dehydration while playing basketball.” Id. ¶ 103.



prevents a plaintiff opposing a motion to dismiss from elaborating on the facts
allegations in the complaint, as long as the new elaborations are consistent with
those facts. See Smith, 803 F.3d at 311 (“[F]acts alleged by a plaintiff in a brief in
opposition to a motion to dismiss ‘may be considered when evaluating the
sufficiency of a complaint so long as they are consistent of the allegations in the
complaint.’”) (quoting Gutierrez v. Peters, 111 F.3d 1364, 1367 n. 2 (7th Cir. 1997)));
see also Geinosky, 675 F.3d at 745 n. 1 (collecting authority); Early v. Bankers Life
& Cas. Co., 959 F.2d 75, 79 (7th Cir. 1992) (“[A] plaintiff is free, in defending
against a motion to dismiss, to allege without evidentiary support any facts he
pleases that are consistent with the complaint, in order to show that there is a state
of facts within the scope of the complaint that if proved (a matter for trial) would
entitle him to judgment.”). This is particularly true when the plaintiffs are pro se,
and the court must construe their allegations liberally and make reasonable
presumptions in their favor. In deciding these motions, the Court therefore
considers all relevant facts set forth in the plaintiffs’ miscellaneous filings in
opposition to dismissal, provided those facts are consistent with the allegations set
forth in the operative complaint.
7      A number of paragraphs in the complaint set forth facts entirely irrelevant to
the alleged constitutional claims. E.g., R. 1 ¶ 74 (alleging the location of certain of
the Lurie defendants’ bank accounts); id. ¶ 108 (excerpting a study about the
national rate of unreported medical mistakes and “iatrogenic events”).
8      Judge Djurisic found that “status epilepticus” is a “severe, continual seizure
that can lead to brain damage, motor impairment, internal organ failure and death.
Estimates of mortality during an individual episode of status epilepticus are
approximately ten to twenty percent.” R. 125 at 6.

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A.    The Dispute Regarding A.T.’s Treatment

      At some point, A.T.’s doctors prescribed a medication called Keppra as part of

A.T.’s treatment regimen. Id. ¶ 63. Keppra is an antiepileptic medication with a

host of potentially undesirable side effects. See, e.g., id. ¶¶ 79, 99, 100. The

plaintiffs allege that the doctors decided on this course of treatment not because it

would best control A.T.’s seizures, but because the hospital and certain of its

administrators receive financial benefits from the pharmaceutical company that

makes Keppra. See id. ¶¶ 102, 105.

      The plaintiffs determined based on their own research that a ketogenic diet is

an alternative medical treatment scientifically proven to treat seizures. See id.

¶¶ 64-66. They raised the possibility of treating A.T. with the ketogenic diet with

A.T.’s doctors at Lurie’s, and while at least one doctor agreed that the diet might be

reasonable treatment option, see id. ¶ 61, other doctors disagreed, see id. ¶¶ 62-63.

Dr. Epstein was so resistant to the plaintiffs’ plan to put A.T. on the ketogenic diet

without daily antiepileptic medication that his discussion with the plaintiffs on the

topic “escalated into a very contentious situation.” R. 148-1 (Resp. to Mot. for

Prelim. Inj.) at 3. Nevertheless, the plaintiffs purchased a book about the diet

written by a physician and initiated the ketogenic diet on their own, without

medical supervision. R. 1 ¶¶ 64-66. They did not administer Keppra. The plaintiffs

allege that A.T. was then seizure-free for fourteen months on the ketogenic diet

alone, and that he excelled at school during that time. See id. ¶¶ 67-68.




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      On February 25, 2016, A.T. had one of his four documented seizures, leading

to his admission to Lurie’s Pediatric Intensive Care Unit. Id. The plaintiffs allege,

and the doctor defendants do not dispute, that even if A.T. had been taking Keppra,

he may nevertheless have had the seizure that required his admission to intensive

care. See id. ¶¶ 96-98.

B.    The DCFS Referral

      According to the plaintiffs, once A.T. was admitted to Lurie’s following the

February 25, 2016 seizure, Dr. Epstein remembered the disagreement he had with

the plaintiffs about the course of treatment for A.T.’s seizures. R. 148-1 at 3. The

plaintiffs allege that Dr. Epstein devised a plan, with support from Lurie’s, to “get

back at the plaintiffs,” which included “build[ing] a coalition of medical

professionals willing to . . . falsely accuse the plaintiffs of medical neglect” by

“falsify[ing] the Lurie Medical History to . . . paint [the] plaintiffs as [persons who]

medically neglect[ed] their child.” Id. The plaintiffs allege this plan was set in

motion on or around February 28, 2016, when an unidentified member of this

coalition at Lurie’s (John Doe 1) reported the plaintiffs to DCFS for acting against

medical advice. R. 1 ¶ 68. The plaintiffs do not allege what records were falsified,

what false information they contained, or how that information made it appear as

though the plaintiffs had been neglectful. They do allege that DCFS was falsely

informed that A.T. has asthma, which he does not, and that certain brain scans

were never taken, even though they were, R. 148-1 (Resp.) at 3-4. But neither of

these facts is alleged to have played a role in the events that followed.



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      Once A.T. recovered from his seizure and was well enough to leave the

hospital, another unidentified Lurie defendant (John Doe 2) refused to authorize

A.T.’s discharge for thirty-six hours despite the plaintiffs’ “repeated demands” that

A.T. be permitted to leave. R. 1 ¶ 68. To keep A.T. in the hospital over the plaintiffs’

objections, an unnamed Lurie’s social worker (John Doe 3) told the plaintiffs that if

they tried to leave with A.T., a police officer waiting in the lobby would be called up

to speak with them. R. 148-1 at 3-4.

C.    The DCFS Investigation

      After A.T.’s discharge, DCFS investigated the allegations made by John Doe

1. See R. 1 ¶ 77. As part of the investigation, the social worker defendants visited

A.T. at the Chicago public school he attends without his parents’ knowledge or

consent. Id. ¶¶ 177-83. This took place “[a]round March 2016 and May 2016.” Id.

¶ 177. The complaint alleges that “no exigent circumstances” existed at the time

these school visits took place. Id. ¶ 176. The “interrogation” of A.T. at school is

alleged to have been permitted by the school principal; the school social worker is

alleged to have accompanied A.T. to the interview and to have failed to inform him

that he could call his parents or refuse to cooperate. Id. ¶¶ 178-82. During that

school visit, A.T. was forced to answer “intrusive” questions about his parents and

to submit to a physical examination. Id.

      The social worker defendants also came to the plaintiffs’ home twice, both

times asking to be let inside to interview A.T. Id. ¶ 185. The plaintiffs refused. Id.

They allege that the social worker defendants threatened to remove A.T. and his



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brother from the plaintiffs’ custody if the plaintiffs did not allow them to enter their

home. Id. Fearful of losing their children, the plaintiffs reluctantly allowed the

social worker defendants into their home. Id. Once there, the social worker

defendants allegedly “strip searched” both children, asking them over parental

objection to pull down their underpants and submit to an invasive physical

examination. Id. ¶ 186.

      During the course of the investigation, A.T. had another of his two

documented status epilepticus seizures requiring his admission to Lurie’s. R. 125 at

8. At that time, he began taking Keppra over his parents’ continued objections. See

R. 1 ¶ 104. It is unclear from plaintiffs’ allegations whether he also discontinued the

ketogenic diet at that time. It is clear from those allegations, however, that A.T.

began experiencing several of the negative side-effects of Keppra that his parents

were initially concerned about, including headaches, dizziness, hallucinations, and

aggressive behavior. See id. ¶ 79 (recounting a July 17th email from Tyagi to the

defendants describing these symptoms); id. ¶ 104 (noting A.T.’s problematic

behavior in school). After these side-effects were brought to the attention of DCFS

and A.T.’s treating neurologists, no adjustments were made to A.T’s seizure

management protocol. See id.

      At the conclusion of the investigation, on July 4, 2016, the defendant

investigators determined that “credible evidence” supported that the plaintiffs

medically neglected A.T. See id. ¶ 77; R. 25 at 4. The plaintiffs allege that the

defendant investigators failed to complete their investigation within the permitted



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time limits. R. 1 ¶ 93. They further allege that the investigators “failed to gather

and consider evidence of innocence,” id. ¶ 94, which the Court understands to refer

to evidence that the ketogenic diet is widely considered an effective treatment for

epilepsy   and   other   neurological   conditions.   Following    the   investigators’

determination, a report of the indicated findings was filed against the plaintiffs

with the SCR. Id. ¶ 77. The plaintiffs allege that this report impacted their

employment or employability. See R. 95 at 4 (“Plaintiffs lost their jobs due to

addition of names in Illinois SCR Registry. Employers decline to offer jobs after

checking the names in Illinois SCR Registry.”).

D.    The Administrative Appeal

      The plaintiffs each appealed the medical neglect determination separately

through the statutory administrative review process. R. 1 ¶¶ 82, 91. Tyagi appealed

on July 24, 2016, and Jagatia appealed on August 12, 2016. See id. Jagatia

requested to have her appeal expedited pursuant to DCFS Rule 336.85, which

entitles child care workers to administrative review on an expedited timeline. Id.

¶ 91. The Chief Administrative Law Judge denied her request, determining that she

was not within the class of persons entitled to expedited review. Id. ¶ 92. The

plaintiffs claim this denial was erroneous, alleging that “Jagatia is a qualified nurse

who [was] looking to work in a children’s health clinic,” and therefore fell within the

class of persons permitted to expedited review. Id.

      Judge Djuristic held a preliminary hearing in Tyagi’s case on August 15,

2016. See R. 139 (Mot. for Prelim. Inj.) ¶¶ 24-25. He continued the hearing twenty-



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eight days to September 12, 2016 so that Tyagi could review the investigative file,

which he had not yet received because it had been mailed out just a few days earlier

(nineteen days after Tyagi faxed his notice of appeal and one day before the

expiration of the deadline for turning over the file set forth in DCFS Rule

336.40(d)). Id. ¶ 26. The plaintiffs allege that the investigative file sent to them was

“heavily redacted,” and that this impacted their ability to defend themselves. R.

159-1 (Resp.) at 4.

      Judge Djuristic held a preliminary hearing in Jagatia’s case on September 6,

2016; she was represented by her husband at that hearing. R. 139 ¶¶ 30-31. During

the hearing, Tyagi renewed his request to expedite Jagatia’s appeal pursuant to

DCFS Rule 336.85. R. 126 (partial administrative hearing transcripts) at 8. Judge

Djurisic informed Tyagi that prior to the scheduling of Jagatia’s preliminary

hearing, the chief administrative law judge had determined that Jagatia did not

qualify for expedited review. See id. at 8-9. Judge Djurisic informed Tyagi that he

would not disturb the chief judge’s determination, but that Jagatia could appeal

that determination to the state circuit court. See id. at 9-11.

      At Tyagi’s continued preliminary hearing on September 12, 2016, the

plaintiffs agreed to consolidate their appeals. Id. at 6. Their cases were set for a

joint-evidentiary hearing on September 22, 2016. R. 25 (Mot. to Remove Names

from Registry) at 4. In preparation for that hearing, Tyagi and Jagatia requested

that DCFS subpoena 38 witnesses to testify. R. 1 ¶ 127. The subpoenaed witnesses

were, for the most part, doctors from Lurie’s—a majority of them listed on Lurie’s



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website as neurologists and others having a neurological focus within their practice.

See R. 139-4 at 2-3. The subpoenaed witnesses also included the head of the

hospital’s ketogenic diet team and four members of the hospital’s in-house legal

staff. See id. The subpoenas were sent by DCFS as requested. See id.

        On September 22, 2016, all but three of the subpoenaed witnesses, Dr.

Epstein, Dr. Bicknese, and Dr. Mafee, failed to appear at the plaintiffs’ evidentiary

hearing. Id.; see also R. 1 ¶ 95. Judge Djurisic did not sanction the non-appearing

witnesses. Id. He informed the plaintiffs that he was without authority to do so, and

their only means of compelling witness attendance would be to seek a writ of

mandamus in the circuit court. R. 126 at 2-3. DCFS attorney Alberg offered to

continue the hearing so that the plaintiffs could attempt to marshal their witnesses,

but the plaintiffs declined. Id. at 4. The plaintiffs instead opted to proceed with the

hearing. Id.

        Representing himself and his wife, Tyagi extensively questioned Dr. Epstein,

Dr. Bicknese, and Dr. Mafee, all of whom appeared by telephone. R. 1 ¶¶ 96-98.

When asked if they made the referral to DCFS, all three doctors testified that they

did not. Id. Tyagi also presented evidence about the dangers of the Keppra and the

efficacy of the ketogenic diet. See id. ¶¶ 99-100. Dozens of emails from Tyagi

attaching hundreds of reports on these topics were also admitted as evidence.9 See

R. 125 at 4-5. Further, DCFS stipulated at the hearing “that the Ketogenic Diet is a


9     One of those e-mails, sent on July 23, 2016, indicates that “80+ published
medical papers” have already been sent and hundreds more are forthcoming.
R. 139-2 at 4.

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medically recognized and valid form of treatment for some cases of Epilepsy to

prevent seizure that may lead to episodes of Status Epilepticus.” Id. at 5. Still, the

plaintiffs considered the proceeding to have been a “sham trial,” because, among

other reasons, so many of the subpoenaed witnesses failed to testify. See R. 1 ¶ 95;

see also R. 139 at 16 (“The witnesses did not appear and it was a mockery of

Administrative Proceedings.”).

         Thirty-five days after the hearing, on October 27, 2016, Judge Djurisic issued

an opinion and recommendation finding that DCFS had shown by a preponderance

of the evidence that the plaintiffs committed medical neglect. R. 125. His opinion

detailed the people who attended the hearing, the witnesses’ testimony, the

stipulation that was entered, evidence that was admitted, and his findings of facts

and conclusions of law. Id. The plaintiffs allege that the ruling was “legally

erroneous.” R. 1 ¶ 131.

         Exactly two weeks later, on November 10, 2016, Former-Director Sheldon

issued his decision adopting Judge Djurisic’s opinion and recommendation. Id.

¶ 110. The plaintiffs say Former-Director Sheldon’s decision was untimely and

“arbitrary and capricious.” Id. ¶¶ 123-33. Accompanying the notice of the final

administrative decision was a letter informing the plaintiffs of their right to seek

judicial review in state court. R. 139-12. Rather than seek judicial review in state

court, the plaintiffs filed the instant lawsuit. The time to appeal the administrative

ruling in circuit court expired on December 15, 2016, six days after this lawsuit was

filed.



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         The plaintiffs seek to enforce their First, Fourth, Sixth, and Fourteenth

Amendment rights through 42 U.S.C. § 1983. R. 1 at 53-71 (Claim 1, Counts 1-6).

The plaintiffs also assert state law claims for intentional and negligent infliction of

emotional distress and invasion of privacy. Id. at 76-80 (Claims 3-5).10 All of the

claims purport to be asserted against all defendants, but the actual allegations

specify the defendants against whom each claim is directed. Therefore, the Court

declines the defendants’ request to summarily dismiss all claims for failure to

comply with Rule 8. R. 116 at 4-6; R. 119 at 5-8; see Fed. R. Civ. P. 8; Ross Bros.

Const. Co. v. Int'l Steel Servs., Inc., 283 F.3d 867, 873 (7th Cir. 2002) (“Rule 8 does

not demand perfection—just notice.”)

         In addition to monetary damages, the plaintiffs seek various forms of

equitable relief, see R. 1. at 81-90 (Claims 6 and 7), including a preliminary

injunction ordering their names be removed from the SCR and ordering that

Former-Director Sheldon show “good cause why his final administrative decision of

medical neglect should not be overturned by this court,” id. ¶ 255. They also request



10     In their response to the Lurie defendants’ motion to dismiss, the plaintiffs
suggest that they also meant to bring a claim for medical malpractice. See R. 148-1
at 6 (“[T]hey were responsible for misdiagnosis and not doing proper testing.”); id.
at 10 (“The defendants failed to order the proper tests for the minor A.T. The
defendants misdiagnosed the symptoms. The defendants misinterpreted the test
results.”). To bring a medical malpractice claim in Illinois, a plaintiff is required to
file the affidavit of a qualified healthcare professional with his complaint. In it, the
affiant must declare that he has determined in a written report, based on a review
of the medical record, that “there is a reasonable and meritorious cause for the filing
of [a malpractice] action.” 735 ILCS 5/2-622. Plaintiffs have not filed any such
affidavit. Therefore, to the extent the plaintiffs intended that a malpractice claim be
construed as part of their complaint, it is dismissed.

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an order essentially dismantling the SCR. R. 139 at 19 (asking the court to “declare

the statutory scheme underlying the Illinois State Central Register unconstitutional

on its face [and] as applied to the Plaintiffs”). More broadly, they request future

equitable relief against DCFS in the form of an order prohibiting DCFS from:

(1) “removing children from their family and homes without exigent circumstances,

court order and/or consent,” R. 1 ¶¶ 246(A)-(B) (internal parenthetical omitted);

(2) “examining children without exigency, need, or proper court order, and without

the presence and/or consent of their parent or guardian,” id. ¶ 246(C); (3) “detaining

children . . . for an unreasonable period after any alleged basis for detention is

negated,” id. ¶ 246(D); and (4) accusing parents of “medical neglect of their children

without finding unfitness by a standard of ‘clear and convincing’ evidence,” id.

¶ 251.11 They also seek an order compelling a level of training and supervision of



11     The complaint seeks an array of other equitable relief, but the Court either:
(1) cannot decipher its meaning, see, e.g., R. 1 ¶ 246(E) (seeking an injunction
against “using trickery, duress, fabrication and/or false testimony and/or evidence,
and in failing to disclose exculpatory evidence, in preparing and presenting reports
and court documents to the court, causing an interference with parental rights,
including those as to 5 familial relations”); (2) finds the need for the requested relief
belied by the plaintiffs’ own allegations, see, e.g., id. ¶ 246(G) (seeking an injunction
against “setting forth allegations in DCFS Court against parents . . . regardless of
whether or not specific, articulable evidence exists,” despite also pleading that
appeals to administrative courts only follow a finding a neglect based on credible
evidence); see also id. at ¶ 246(I); or (3) finds that the plaintiffs do not allege facts
plausibly suggesting the practice they seek to enjoin actually takes place, and, even
if they did, that they lack standing to seek the requested relief because they do not
allege to have suffered the harm it would redress, see R. 1 ¶ 246(H) (seeking an
injunction against DCFS “making knowingly false allegations of child abuse,
neglect, or abandonment . . . as a means of intimidating parents, by coercion, into
accepting lesser charges . . . thereby enabling the county to . . . record the case as a
positive outcome for purposes of statistical analysis related to funding by the State
and Federal governments”).

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DCFS employees that will ensure their comportment with families’ constitutional

rights. See id. ¶¶ 146(F), 146(J)-(M).

                                       Discussion

I.       Challenges to Judge Djurisic’s Judgment on its Merits

         As an initial matter, the plaintiffs make a number of allegations and seek

several forms of relief (including removal of their names from the SCR) that amount

to challenges to Judge Djuristic’s judgment on its merits. Where appellate review of

a state administrative ruling is vested by statute in the state circuit courts and no

appeal is taken, “the scope of [federal] review . . . is extremely limited and is no

substitute for a direct appeal.” Suggs v. C.W. Transport, Inc., 421 F. Supp. 58, 62

(N.D. Ill. 1976). Although federal courts may consider constitutional claims

collateral to an administrative judgment, claims that the judgment was “erroneous,”

“factually incorrect,” or “against the manifest weight of the evidence” do not present

such a constitutional claim. Id.

         A plaintiff also may not seek in a federal lawsuit to overturn an adverse state

administrative judgment. Van Harken, 103 F.3d at 1349. Although nothing

prevents a plaintiff from bringing a lawsuit under § 1983 challenging the

constitutionality of a rule or procedure underlying an adverse administrative

judgment, a plaintiff may not seek to avoid the judgment itself through a federal

lawsuit. Id. (holding that a class of plaintiffs could challenge the city’s

administrative procedures for assessing parking fines, “[b]ut insofar as they are

seeking refunds of the parking fines imposed upon them, they are barred”).



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         Accordingly, the plaintiffs’ allegations that Judge Djurisic “got it wrong” are

insufficient to confer authority on this Court to reconsider his judgment on its

merits. The plaintiffs’ only recourse for such a grievance is a direct appeal to the

circuit court under the Illinois Administrative Review Law.12 Suggs, 421 F. Supp. at

62; see also Maum Meditation House of Truth v. Lake Cnty., Ill., 55 F. Supp. 3d

1081, 1090 (N.D. Ill. 2014). Additionally, the plaintiffs are barred from seeking

relief in this lawsuit in the form of an order that DCFS remove their names from

the SCR, and the Court cannot order Former-Director Sheldon to show cause why

his decision should be overturned. See id. For this same reason, the plaintiffs’

“Motion to Order Defendants George Sheldon and Deanna Large to remove

Plaintiffs’ names from Illinois SCR Register,” R. 95, is denied.

         Nothing, however, prevents this Court from considering the constitutional

and state law claims raised by the plaintiffs that Judge Djurisic did not address or

did not have the opportunity to address. Neither the Illinois Abused and Neglected

Child Reporting Act (“ABCRA”) nor the DCFS rules governing administrative

appeals conveys authority on Judge Djurisic to consider the plaintiffs’ § 1983 claims

or their state law claims. And it does not appear from the current record that any

such claims were put before him. Thus, the Court may consider those claims here.

See, e.g., Ibitayo v. McDonald, 2003 WL 22767046, at *3-4 (N.D. Ill. 2003) (issue

preclusion did not bar claims where, “[t]aking the facts as alleged by Plaintiff as



12    If such a review is now time-barred (on which this Court takes no position),
that does not change the Court’s analysis.

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true, the state court never considered” the constitutionality of searches by DCFS,

and the state court’s determination “did not necessarily include consideration of

whether the constitutional rights of the family or children were violated by the

conduct of DCFS”).

II.    Defendants Dismissed Outright for Failure to State a Claim

       Before turning to the substance of the plaintiffs’ claims, this Court dismisses

four defendants—DCFS defendants Nora Harms Pavelski and Stevie Lemon, doctor

defendant Melissa Cirrillo, and SCR administrator Deanna Large—outright. Other

than identifying those individuals’ job positions, the complaint is silent as to their

roles in any of the alleged deprivations. For that reason, they are properly

dismissed. E.g., Brokaw v. Mercer Cnty., 235 F.3d 1000, 1014 (7th Cir. 2000).

III.   42 U.S.C. § 1983 Claims

       The plaintiffs allege numerous violations of their rights under the First,

Fourth, Sixth, and Fourteenth Amendments pursuant to § 1983. To state a claim

under § 1983, a plaintiff must allege (1) the deprivation of a right secured by the

Constitution or laws of the United States that (2) was committed by a person acting

under color of state law. 42 U.S.C. § 1983 (“Every person who, under color of any

statute, ordinance, regulation, custom or usage, of any State . . . subjects or causes

to be subjected, any citizen of the United States or other person within the

jurisdiction thereof to the deprivation of any rights, privileges, or immunities

secured by the Constitution laws, shall be liable to the party injured in an action at

law.”) (emphasis added); Brokaw, 235 F.3d at 1009 (citation omitted).



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         The Court first will address a number of general arguments made by

different groups of defendants regarding whether they are subject to liability under

§ 1983. The Court then will address each alleged constitutional violation in turn.

         A.    General Arguments Regarding Defendants’ § 1983 Liability

               1.    The DCFS Defendants

         The DCFS defendants (Former-Director Sheldon, Judge Djurisic, the attorney

defendants, and the social worker defendants and their supervisors) do not dispute

that in their individual capacities, they are “persons” acting under color of state law

within the meaning of the § 1983. See Shields v. Ill. Dep’t of Corrections, 746 F.3d

782, 789 (7th Cir. 2016).

         The DCFS defendants nevertheless make blanket arguments that they are

not subject to liability under § 1983 because they are: (1) not personally liable; and

(2) entitled to qualified immunity. To state a claim for personal liability against

public employees, plaintiffs must allege how each official personally deprived them

of a federal right. Brokaw, 235 F.3d at 1012. “[A]n official satisfies the personal

responsibility required of § 1983 if she acts or fails to act with a deliberate or

reckless disregard of the plaintiff’s constitutional rights, or if the conduct causing

the constitutional deprivation occurs at her direction or with her knowledge or

consent.” Id. Because this is an individualized inquiry, the Court will evaluate

whether and with respect to which defendants the plaintiffs have adequately

pleaded personal responsibility when considering particular constitutional claims

below.



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      Even where a plaintiff adequately alleges personal involvement of a public

employee in the deprivation of a constitutional right, that employee is entitled to

qualified immunity “for actions taken while performing discretionary functions,

unless their conduct violates clearly established statutory or constitutional rights of

which a reasonable person would have known.” Id. at 1022; see also Ibitayo, 2003

WL 22765046, at *5 (“Qualified immunity remains as a basis on which to grant a

motion to dismiss.”) (collecting authority).

      To state a claim against a public employee defendant in his or her individual

capacity under § 1983, a plaintiff must not only allege the violation of a

constitutional right, but also that the right was clearly established. See Doe v. Heck,

327 F.3d 492, 509 (7th Cir. 2003) (“If no constitutional right would have been

violated were the allegations established, there is no necessity for further inquiries .

. . If, on the other hand, a violation could be made out on a favorable view of the

parties’ submissions, the next, sequential step is to ask whether the right was

clearly established.”) (citing Saucier v. Katz, 533 U.S. 194 (2001)). Because qualified

immunity offers not merely a defense from liability, but also provides immunity

from suit, courts address the issue as early as possible. Hughes v. Jones, 40 F. Supp.

3d 969, 985 (N.D. Ill. 2014) (citing Pearson v. Callahan, 555 U.S. 223, 231 (2009)).

      Here, as with the personal responsibility inquiry, the Court will evaluate

whether particular defendants are entitled to qualified immunity when considering

specific constitutional claims below.




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             2.     Mafee and the Lurie Defendants

      Mafee and the Lurie defendants claim that, as private citizens and entities,

they are not susceptible to liability under § 1983. Ordinarily, it is true that a private

citizen or entity cannot be held liable under § 1983. Brokaw, 235 F.3d at 1016. But

this bar is not automatic. “[I]f a private citizen conspires with a state actor, then the

private citizen is subject to Section 1983 liability.” Id. (citation omitted). And

private corporations can be held liable under § 1983 if a plaintiff must allege that

his injury was caused by an unconstitutional policy, custom, or practice of the

corporation. Shields, 746 F.3d at 795-96 (expressing doubts about the wisdom and

precedential basis of the rule against respondeat superior liability for private

corporations, but holding that “[f]or now, this circuit’s case law still extends Monell

from municipalities to private corporations”) (collecting circuit authority), cert.

denied, 135 S.Ct. 1024 (2015).

      Here, construing the complaint liberally as the Court must, the plaintiffs

allege that the private individual actors in this case (i.e., Mafee and the Lurie

defendants) conspired with state actors and that the private corporations’

unconstitutional policies or practices caused their injuries. Accordingly, Mafee and

the Lurie defendants are not entitled to a blanket ruling that they are private

entities and individuals shielded from liability under § 1983. The Court will

evaluate whether the plaintiffs have alleged specific facts supporting liability for

Mafee and the Lurie defendants below in connection with its analysis of the

plaintiffs’ constitutional claims.



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      B.     First, Fourth, Sixth, and Fourteenth Amendment Claims under

             § 1983

      The plaintiffs assert violations of the First, Fourth, Sixth, and Fourteenth

Amendments. The Court analyzes all of these claims in turn, though not necessarily

in order, and groups the claims where appropriate to avoid duplicative analysis.

             1.    First & Fourteenth Amendments: Parents’ right to choose

                   the mode of medical treatment for their child

      The plaintiffs allege that the doctor defendants and the Lurie John Does

conspired with DCFS to require the plaintiffs to administer Keppra to A.T., even

though doing so was contrary to the plaintiffs’ sincerely held religious beliefs and

not in A.T.’s medical interest. R. 1 (Claim 1, Counts 1 & 3). They allege that the

doctor defendants did so in order to “get back at” the plaintiffs and provide a

financial benefit to the corporate Lurie Defendants. They allege that under the

circumstances, a religious accommodation was required. And because no course of

treatment could promise to prevent A.T.’s seizures altogether, the plaintiffs allege

that the proper religious accommodation would have been to continue treating A.T.

with the ketogenic diet. They appear to seek both an injunction against having to

give A.T. Keppra going forward and a variety of damages.

      The Court assumes for the purposes of its analysis that despite failing to

plead the religion they ascribe to or the basis of their objection to pharmaceutical

drugs, the plaintiffs have adequately alleged their religious beliefs and that giving

A.T. Keppra is contrary to those beliefs. That is not enough to state a claim under



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the First Amendment, however, because the right to freely exercise one’s religion is

limited where the health of a minor is at stake. See People ex. rel. Wallace v.

Labrenz, 104 N.E. 2d 769 (Ill. 1952). The Illinois Supreme Court held more than

sixty years ago that Jehovah’s Witnesses’ First Amendment rights were not violated

when a court appointed a guardian ad litem to approve a blood transfusion for their

child, despite their religious objections to the procedure. Id. at 773. The Court

sustained a finding of neglect based on parents’ refusal to permit their child to

receive a blood transfusion despite the almost certain risk of severe brain damage or

death without one, where the parents had not failed in their parental duties in any

other respect. Id. In reaching that conclusion, the Labrenz court held that while

“freedom of religion and the right of parents to the care and training of their

children are to be accorded the highest possible respect,” id. (citations omitted),

“neither rights of religion or rights of parenthood are beyond limitation,” id. at 773-

74 (quoting Prince v. Mass., 321 U.S. 158, 167 (1944)).

      Setting forth the contours of those limitations, the Labrenz court recited the

long-settled principle that “[l]aws are made for the government of actions, and while

they cannot interfere with [ ] religious belief and opinions, they may with practices.”

Id. at 774 (quoting Reynolds v. United States, 98 U.S. 145, 166 (1878)). Where

parents’ religious practices endanger their child’s life, those practices fall beyond

the scope of the Free Exercise clause. Id. (citing Prince, 321 U.S. at 166 (“The right

to practice religion does not include liberty to expose the community or child to

communicable disease or the latter to ill health or death . . . Parents may be free to



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become martyrs themselves. But it does not follow they are free, in identical

circumstances, to make martyrs of their children before they have reached the age

of full and legal discretion when they can make that choice for themselves.”)); see

also In re A.E., 2013 WL 4678227, at * 5 (Ill. App. Ct. Aug. 26, 2013) (unpublished)

(“Respondent is certainly allowed to be of the opinion that traditional medical care

is not necessary, but that does not mean she can practice those beliefs to the extent

they provide for the ill health of her children.”).

      Under Labrenz, if the plaintiffs’ religious practices unduly endangered A.T.’s

life or well-being, the First Amendment did not confer on them the liberty to engage

in those practices. Judge Djurisic found, after reviewing hundreds of pages of

exhibits and hearing sworn testimony from three physicians, that treating A.T. with

the ketogenic diet alone exposed him to risk of status epilepticus, brain damage,

and possibly death. See R. 125 at 16-17. He found that the ketogenic diet, while

efficacious in certain cases of epilepsy, was inadequate to control A.T.’s seizures,

and furthermore that the plaintiffs should have recognized as much. See id. This

Court cannot review or contradict those findings. E.g., Suggs, 421 F. Supp. at 62

(federal courts may not review claims that state administrative judgment was

“erroneous,” “factually incorrect,” or “against the manifest weight of the evidence”);

University of Tenn. v. Elliott, 478 U.S. 788, 799 (1986) (“[W]hen a state agency

acting in a judicial capacity resolves disputed issues of fact properly before it which

the parties have had an adequate opportunity to litigate,” federal courts must give

the agency’s “factfinding . . . preclusive effect.”) (internal punctuation and citation



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omitted). Therefore, the plaintiffs have not alleged a violation of their rights under

the First Amendment.

      Religion aside, the plaintiffs argue that “[p]arents’ [r]ight to make health care

decisions for their child is absolute,” and “[s]tate interference in the child’s medical

care . . . constitutes a gross violation of the parents’ fundamental rights.” R. 148-1 at

1. In support, the plaintiffs rely primarily on Hofbauer v. Saratoga County

Department of Social Services, 393 N.E.2d 1009 (Ct. App. N.Y. 1979). The Hofbauer

case involved a child with Hodgkin’s disease. Id. at 1011. The child’s attending

physician recommended that he should be seen by an oncologist or hematologist to

begin radiation and chemotherapy. Id. at 1012. Rather than pursue that course of

treatment, the child’s parents took him to Jamaica, where a course of nutritional

therapy was initiated, which was then overseen locally by a licensed physician in

New York. Id. On appeal, the highest court of New York affirmed the legal

determination reached by the appellate division that the child’s parents had not

neglected him by pursuing the alternative, less traditional treatment regimen. Id.

at 1013-14. The court took pains to note that its ruling was confined to the unique

facts of that case, which the court lacked authority to review. Id. at 1012 (“[W]e note

that our scope of review is narrow in a case[ ] such as this, coming to us with

affirmed findings of fact . . . because the court is without power to review the

findings of fact if such findings are supported by evidence in the record.”).

      Four facts not present in this case were critical to the Hofbauer court’s legal

analysis: (1) the parents had sought the opinions of numerous doctors before



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settling on a course of treatment; (2) the nutritional treatment was being

supervised by a licensed physician, an indication that the treatment “ha[d] not been

totally rejected by all responsible medical authority”; (3) there was medical evidence

that the treatment was effectively controlling the child’s condition; and (4) the

parents testified that if their child’s condition deteriorated, they would consent to

the administration of conventional treatments. Id. at 1013. Critically, the Hofbauer

court found it “abundantly clear that this is not a case where the parents, for

religious reasons, refused necessary medical procedures for their child.” Id. at 1014.

The Hofbauer case therefore does not hold, as the plaintiffs argue, that their right to

make medical decisions for A.T. is absolute. Quite to the contrary, the case

acknowledges limitations on that right, and considers parental refusal to provide

necessary treatment to fall outside the bounds of constitutionally protected parental

conduct.

             2.     Fourth and Fourteenth Amendments: Unlawful search

                    and seizure and interference in familial relations

      The plaintiffs allege three incidents in the course of the DCFS investigation

that implicate their constitutional rights. First, they allege that certain of the Lurie

defendants, working together with DCFS, unlawfully detained A.T. at the hospital

by refusing to discharge him for 36 hours after he was fully recovered and medically

ready to go home. Second, they allege that the social worker defendants undertook

an unnecessarily extensive search of their children’s bodies at their home after

gaining entry only by threatening to remove both A.T. and his brother from the



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plaintiffs’ custody. They further allege that these threats violated their

fundamental right of familial association. Finally, the plaintiffs allege that the

social worker investigators unlawfully detained, questioned, and physically

examined A.T. at school without parental knowledge or consent. In connection with

all of these incidents, the plaintiffs make an official-capacity claim against Former-

Director Sheldon, alleging that he was responsible for sanctioning policies and

setting priorities that permit “widespread” detentions and interrogations of these

types to occur.

                            a.     The Incident at Lurie’s

       Turning first to the claim that requiring A.T. to remain in the hospital for 36

hours after he was medically ready for discharge violated the Fourth Amendment,

the plaintiffs allege that on or around February 28, 2016, Dr. Lauren E. Marsillio

and John Doe 3 “accused plaintiffs of medical neglect,” and a call was made to

DCFS. R. 1 ¶ 68. They allege that John Doe 3 then took the plaintiffs into a

separate room and told Tyagi that if they tried to leave with A.T., a police officer

waiting in the lobby would be called up to speak with them. R. 148-1 at 4-5. The

hospital did not discharge A.T. for more than 36 hours after that, the plaintiffs

allege, despite the fact that the hospital and doctors had determined that A.T. had

recovered and was ready for discharge. Id. The plaintiffs allege they did not feel free

to leave during this time in light of the threat of police officer contact. Id.

       The Fourth Amendment provides that “[t]he right of the people to be secure

in their persons, houses, papers, and effects against unreasonable searches and



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seizures, shall not be violated.” “Because the basic purpose of the Fourth

Amendment is to safeguard the privacy and security of individuals against

arbitrary invasions by governmental officials, the amendment’s prohibition against

unreasonable searches and seizures protects against warrantless intrusions during

civil as well as criminal investigations by the government.” Heck, 327 F.3d at 509

(internal citations and quotation marks omitted). What constitutes “unreasonable”

under the Fourth Amendment “is not capable of precise definition or mechanical

application, and its proper application requires careful attention to the facts and

circumstances of each particular case.” Brokaw, 235 F.3d at 1010 (quoting Graham

v. Connor, 490 U.S. 386, 396 (1989)).

      “A person has been seized within the meaning of the Fourth Amendment if,

in view of all of the circumstances surrounding the incident, a reasonable person

would have believed that he was not free to leave.” Id. (citing United States v.

Mendenhall, 446 U.S. 544, 554 (1980)). Based on Tyagi’s alleged conversation with

John Doe 3 and the alleged presence of a police officer on site, it was reasonable for

the plaintiffs to believe they and A.T. were not free to leave Lurie’s. Therefore, the

plaintiffs have plausibly alleged a seizure. Furthermore, it is plausible that it was

not reasonable for purposes of the Fourth Amendment to hold A.T. any longer than

medically necessary.

      The plaintiffs have not, however, met their burden of pleading “the ‘clearly

established rights’ that have been violated.” Magdziak v. Byrd, 1995 WL 704394, at

*6 (N.D. Ill. Nov. 29, 1995), aff'd, 96 F.3d 1045 (7th Cir. 1996) (quoting Alvarado v.



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Picur, 859 F.2d 448, 452 (7th Cir.1988)) (dismissing § 1983 claims). The plaintiffs do

not address whether the right not to be held past medical necessity is clearly

established. Thus, at least as the record currently stands, plaintiffs have not

defeated John Doe 3’s or Dr. Marsillio’s qualified immunity defenses. Additionally,

the plaintiffs have not adequately alleged Dr. Marsillio’s personal involvement in

the alleged seizure; they merely allege that she was personally involved in the

medical neglect referral and in discharging A.T. And plaintiffs have not alleged that

John Doe 3 acted pursuant to a policy, custom, or practice of the corporate

defendants as required to hold the corporate defendants liable under § 1983. See

Shields, 746 F.3d at 795-96. The Court therefore dismisses the plaintiffs’ Fourth

Amendment claims with respect to the incident at Lurie’s.13




13     Plaintiffs also make a number of generalized allegations regarding the
removal of children from their parents’ custody and the alleged practice of “medical
kidnapping.” See, e.g., R. 155 (motion to intervene); R. 156 (motion to declare the
Adoption and Safe Families Act unconstitutional). But it is undisputed that A.T.
was never removed from the plaintiffs’ custody and the plaintiffs were never
prevented from seeing him at the hospital during his stay or from staying with him
overnight. And though A.T. was alleged to have been held in at Lurie’s for 36 hours
after being medically ready for discharge, he was not placed in state custody during
that time, enrolled in clinical trials, or forced to take experimental medications or
undergo experimental procedures without parental knowledge or consent.

       “To meet the standing requirements of Article III, a plaintiff must allege
personal injury fairly traceable to the defendant’s allegedly unlawful conduct and
likely to be redressed by the requested relief.” Raines v. Byrd, 521 U.S. 811, 819
(1997) (emphasis in original) (internal quotations omitted) (quoting Allen v. Wright,
468 U.S. 737, 751 (1984)). The Supreme Court “has consistently stressed that a
plaintiff’s complaint must establish that he has a ‘personal stake’ in the alleged
dispute, and that the alleged injury suffered is particularized as to him.” Id. (citing
authority). Because it is undisputed that A.T. was never removed from the
plaintiffs’ custody, defendants’ motions to dismiss are granted with respect to any
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                          b.    The Incident at the Plaintiffs’ Home

      Turning next to the search in the plaintiffs’ home, the plaintiffs allege that on

two different occasions, defendants Rubio and Burleson threatened to take A.T. and

his brother from their parents “unless [Rubio and Burleson] were allowed inside the

home immediately” to perform a “strip search.” R. 1 ¶ 185. The plaintiffs say they

consented to entry only because Rubio and Burleson threatened to take the children

if they did not consent. Id. Then, without parental consent, Rubio and Burleson

allegedly “pulled down the pants and underwear of” A.T. and his brother “and

inspected” their bodies. Id. at ¶ 186. The plaintiffs’ allegations regarding the

incident in their home raise two potential constitutional claims: a Fourth

Amendment claim regarding the search, and a Fourteenth Amendment substantive

due process claim regarding the threat of removal.

      The Search. “When the Fourth Amendment was ratified, as now, to ‘search’

meant ‘[t]o look over or through for the purpose of finding something; to explore; to

examine by inspection.’” Heck, 327 F.3d at 509-10 (citing Kyllo v. United States, 533

U.S. 27, 33 n. 1 (2001) (quoting N. Webster, An American Dictionary of the English

Language 66 (1828) (reprint 6th ed. 1989))); Darryl H. v. Coler, 801 F.2d 893, 900

(7th Cir. 1986) (“A search within the meaning of the fourth amendment occurs when

the government intrudes upon an individual’s legitimate expectation of privacy.”).




generalized claims regarding removing children from their parents’ custody or the
alleged practice of “medical kidnapping.”

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      The search the plaintiffs allege plainly meets this definition. And the

plaintiffs’ allegations, if true, describe an unreasonable search. Requiring

children—especially those whose well-being is not in question like A.T.’s brother—

to pull down their underpants without parental consent and in the absence of

allegations such as spanking or sexual abuse is not reasonable. The plaintiffs have

thus pleaded a plausible Fourth Amendment claim based on the search at the

plaintiffs’ home. And they have adequately alleged Rubio’s and Burleson’s personal

involvement in that search.

      Nor are Rubio and Burleson entitled to qualified immunity. The right for

children to be free from unduly invasive physical inspections on private property in

similar circumstances is clearly established. See Michael C. v. Gresbach, 526 F.3d

1008, 1017 (7th Cir. 2008) (“[W]e find that a reasonable child welfare worker would

have known that conducting a search of a child’s body under his clothes, on private

property, without consent or the presence of any other exception to the warrant

requirement of the Fourth Amendment, is in direction violation of the child’s

constitutional right to be free from unreasonable searches”); Franz v. Lytle, 997

F.2d 784, 792 (7th Cir. 1993) (no reasonable officer would believe that he could

visually and physically inspect two-year old child's vagina based on one complaint

that the child had a severe diaper rash).

      The plaintiffs’ Fourth Amendment claim with respect to the search at the

plaintiffs’ home will proceed with respect to Rubio and Burleson in their individual

capacities.



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      The Threat of Removal. Substantive due process “protects an individual

from the exercise of governmental power without a reasonable justification.” Belcher

v. Norton, 49 F.3d 742, 753 (7th Cir. 2007). “The Supreme Court has long recognized

as a component of substantive due process the right to family relations.” Brokaw,

235 F.3d at 1018. It is clearly established under Seventh Circuit law that undue

interference in the familial relationship violates the fundamental liberty interest of

parents in the care, custody and management of their children. See id. at 1018-19

(collecting authority on the contours of the constitutional right to familial relations).

Accordingly, the “threat to remove” minor children “from the custody of their

parents violate[s]” the parents’ “right to familial relations.” Heck, 327 F.3d at 524. A

violation occurs even if “defendants d[o] not make good on their threat.” Id.

      Here, the plaintiffs have plausibly alleged that Rubio and Burleson

personally threatened to remove A.T. and his brother from their parents’ custody

and thus violated the plaintiffs’ substantive due process rights. And the right to be

free from such a threat is clearly established under Seventh Circuit law. As such,

Rubio and Burleson are not entitled to qualified immunity.

      The plaintiffs’ Fourteenth Amendment substantive due process claim will

proceed with respect to Rubio and Burleson in their individual capacities.

                           c.     The Incident at A.T.’s Public School

      The final alleged investigation-related incident involved interviews with A.T.

at his public school by all three social worker defendants (Rubio, Stephens, and

Burleson) in March 2016 and May 2016. R. 1 ¶ 177. The plaintiffs allege that the



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social worker defendants performed these interviews without their consent, and

that they involved 15-20 minutes of intrusive questions and an inspection of A.T.’s

body. Id. at ¶¶ 177-78. The plaintiffs allege that Chicago Public Schools and its

employees did not offer A.T. the opportunity to call his parents or tell him he was

free not to answer the questions. Id. at ¶¶ 179-80. The plaintiffs’ allegations

regarding the incident in their home raise two potential Fourth Amendment claims:

a claim regarding the interrogation and a claim regarding the search.

      The Interrogation. In Heck, the Seventh Circuit held that warrantless

seizure of a student at a private school in the absence of a warrant, consent, or

exigent circumstances violated the Fourth Amendment. 327 F.3d at 517. In

reaching that decision, the Seventh Circuit expressly distinguished a private school

interrogation from an interrogation at a public school. Id. at 511-17. It explained

that “a lower standard of scrutiny applies to searches and seizures conducted by the

government on public school property.” Id. at 514.

      In light of the distinction in Heck between public and private school, A.T.

likely had no reasonable expectation of privacy at his public school that would give

rise to a Fourth Amendment claim based on the interrogation alone. And even if he

did, Rubio, Stephens, and Burleson would have qualified immunity because any

such right is not clearly established under Seventh Circuit law. The plaintiffs’

Fourth Amendment claim with respect to the alleged interrogation at A.T.’s public

school is therefore dismissed.




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         The Search. The Seventh Circuit in Heck reaffirmed its prior holding in

Darryl H. that on public school property, it could “not ‘say that the Constitution

requires that a visual inspection of the body of a child who may have been the

victim of child abuse can only be undertaken when the standards of probable cause

or a warrant are met.’ Instead, . . . the constitutionality of these inspections should

be evaluated under the reasonableness test of the Fourth Amendment.” Id. at 513-

14 (quoting Darryl H., 801 F.2d at 902). Under the reasonableness test, the question

becomes whether “the government officials in question had ‘some definite and

articulable evidence giving rise to a reasonable suspicion that a child has been

abused or is in imminent danger of abuse.’” Id. at 515 (quoting Brokaw, 235 F.3d at

1019).

         In Darryl H., the Seventh Circuit implied that a visual inspection of a minor

at a public school, if performed without the parents’ consent and without definite

and articulable evidence of abuse, might violate the Fourth Amendment. 801 F.2d

at 907. But the Darryl H. Court “expressly declined to rule on the constitutionality

of the examinations” in that case and “found that the constitutional rights and

issues involved were far from ‘clearly established.’” Lanstrom v. Illinois Dep’t of

Children & Fam. Servs., 892 F.2d 670, 676 (7th Cir. 1990) (discussing Darryl H.).

         Here, the plaintiffs may very well have stated a Fourth Amendment claim

with respect to the visual inspection of A.T. at his public school. They plausibly

allege that the social worker defendants performed a visual inspection of A.T.’s body

without parental consent and with allegedly limited evidence giving rise to a



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reasonable suspicion of imminent danger of abuse. But because (1) the Court in

Darryl H. expressly declined to rule on the constitutionality of the physical

inspections in that case, and (2) the reasonableness of such a search at public school

is not clearly established under Seventh Circuit law, the social worker defendants

have qualified immunity on that claim. The plaintiffs’ Fourth Amendment claim

with respect to the alleged physical examination at A.T.’s public school is therefore

dismissed.

                           d.     Official Capacity Claims Against Former-

                                  Director Sheldon (Claims 2 & 7)

      In addition to individual-capacity claims against the DCFS defendants, the

plaintiffs make official-capacity claims against Former-Director Sheldon for

allegedly permitting widespread searches and seizures of minors to occur. The

DCFS defendants argue that these claims are barred by the Eleventh Amendment.

R. 119 at 14. As a general rule, the Eleventh Amendment bars federal suits against

state officials in their official capacities. Brokaw, 235 F.3d at 1009; see also Evans v.

Torres, 1999 WL 1010983, at *3 (N.D. Ill. Sept. 30, 1999) (noting that “DCFS is

treated the same as a State for the purposes of the Eleventh Amendment”). But

official-capacity suits against state officials seeking prospective, equitable relief are

not barred by the Eleventh Amendment. Williams v. Wisconsin, 336 F.3d 576, 580–

81 (7th Cir. 2003) (citing Ex parte Young, 209 U.S. 123 (1908)). Thus, to the extent

the plaintiffs’ official-capacity claims against Former-Director Sheldon seek

injunctive relief in the form of an order preventing future violations of their



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constitutional rights (as they do, in part), they are not barred by the Eleventh

Amendment. Williams, 336 F.3d at 580–81.

       Separate and apart from the application of the Eleventh Amendment,

however, a plaintiff’s claim for an injunctive relief must be plausible. Iqbal, 556 U.S.

at 678. And in this case, the plaintiffs’ allegations regarding Former-Director

Sheldon’s participation in creating a policy regarding unlawful searches and

seizures and threats of removal are far too conclusory to set forth a plausible

custom, policy, or practice. The plaintiffs allege that Former-Director Sheldon was

responsible for sanctioning policies and setting priorities that permit widespread

detentions and interrogations to occur. R. 1 ¶¶ 218-24. But they do not provide any

specific   facts   plausibly    supporting   that   Former-Director   Sheldon   in   fact

implemented these supposed priorities and sanctioned these policies. Id. ¶¶ 218-24,

255. Therefore, the official-capacity claims against Sheldon (Claims 2 & 7) seeking

prospective equitable relief are dismissed.

                     3.        Sixth Amendment: Right to confront witnesses

       The plaintiffs allege that by failing to compel the presence of subpoenaed

witnesses, Judge Djuristic denied them the opportunity to “confront and cross-

examine adverse witnesses.” Citing to the rules governing appeals of child abuse

and neglect investigations, they also allege to have been entitled (and denied the

right) to confront the John Doe witness who made the DCFS referral in February

2016. They invoke the Confrontation Clause of the Sixth Amendment as the source

of these rights. The Confrontation Clause provides that “in all criminal



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prosecutions, the accused shall enjoy the right . . . to be confronted with the

witnesses against him.” U.S. Const., amend. VI.

      The DCFS defendants argue that the plaintiffs are foreclosed from raising a

Sixth Amendment claim because they failed to exhaust administrative remedies.

But there is no exhaustion requirement under § 1983. Veterans Legal Defense Fund

v. Schwartz, 330 F.3d 937, 941 (7th Cir. 2003).

      The DCFS defendants also argue that the Confrontation Clause applies by its

terms only to criminal proceedings. R. 119 at 8 (“No court has ever found that the

Sixth Amendment guarantees a right to cross examine witnesses in a civil

administrative review process.”). That position might be overly simplistic. See

Vidinski v. Lynch, 840 F.3d 912 (7th Cir. 2016) (Sixth Amendment might apply in

immigration removal hearings).

       In any event, even if the plaintiffs had a right to cross-examine witnesses at

the administrative hearing, Judge Djurisic is protected from liability by the doctrine

of judicial immunity. Brokaw, 235 F.3d at 1015 (“judges are not liable in civil

actions for their judicial acts unless they have acted in the clear absence of

jurisdiction”; indeed, “a judge will not be deprived of immunity even if the action

was in error, was done maliciously, was in excess of his authority, and even if his

exercise of authority is flawed by the commission of grave procedural errors”)

(internal citations omitted); Eades v. Sterlinske, 810 F.2d 723, 725-26 (7th Cir.

1987) (judicial immunity applies to Sixth Amendment violations in criminal




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sentencing proceedings). Accordingly, the plaintiffs’ Sixth Amendment claim is

dismissed.

                    4.     Fourteenth Amendment Procedural Due Process

      The plaintiffs allege a variety of alleged procedural errors in the DCFS

investigation and administrative appeal, including use of the “credible evidence”

standard to indicate a finding of medical neglect, disregarding exculpatory evidence,

and deadline issues. To plead a procedural due process claim under § 1983, a

plaintiff “must sufficiently allege (1) that she had a cognizable liberty interest under

the Fourteenth Amendment; (2) that she was deprived of that liberty interest; (3)

and that the deprivation was without due process.” Mann v. Vogel, 707 F.3d 872,

877 (7th Cir. 2013). As set forth below, none of the plaintiffs’ alleged errors supports

a plausible procedural due process claim.

                             a.   “Credible Evidence” Standard

      The plaintiffs allege that “the use of the credible-evidence standard of proof to

support the indicated finding” of medical neglect violated their procedural due

process rights. R. 1 ¶¶ 117, 199. But “credible evidence” is the appropriate standard

of proof for pre-deprivation proceedings, including to support the indicated finding

necessary to place an individual on the SCR. E.g., Dupuy v. Samuels, 397 F.3d 493,

505-07 (7th Cir. 2005) (district court did not abuse discretion by permitting DCFS

“to retain the term ‘credible evidence’ in its articulation of the governing standard of

proof” “for the pre-indication stage of the investigation”). And Judge Djuristic

applied the appropriate, “preponderance of the evidence” standard in the post-



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deprivation proceedings in this case. See id. at 507-08. Thus, the appropriate

standards were applied, and the use of a “credible evidence” standard to indicate a

report in pre-deprivation proceedings does not support a procedural due process

claim.

                                  b.    Exculpatory Evidence

         The plaintiffs allege that DCFS attorneys who represented the agency

presented false or fabricated evidence and suppressed exculpatory evidence. R. 1

¶¶ 149, 151. But the plaintiffs do not allege specifically what exculpatory evidence

was fabricated or suppressed. If they are referring to evidence about the efficacy of

the ketogenic diet, their claim is belied by the state’s stipulation at the

administrative hearing “that the Ketogenic Diet is a medically recognized and valid

form of treatment for some cases of Epilepsy to prevent seizure that may lead to

episodes of Status Epilepticus.” R. 125 at 5. At least as currently pleaded, the

plaintiffs fail to state a procedural due process claim with respect to the suppression

of exculpatory evidence.

                                  c.    Deadline Issues

         Turning to the plaintiffs’ various and generalized allegations regarding the

violations of deadlines, as the Seventh Circuit has explained:

         While a plaintiff is not required to exhaust state remedies to bring a
         § 1983 claim, this does not change the fact that no due process
         violation has occurred when adequate state remedies exist. The whole
         idea of a procedural due process claim is that the plaintiff is suing
         because the state failed to provide adequate remedies. Therefore, we
         do not require a plaintiff to pursue those remedies in order to
         challenge their adequacy, but likewise we do not allow a plaintiff to
         claim that she was denied due process just because she chose not to


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       pursue remedies that were adequate. Given the availability of state
       remedies that have not been shown to be inadequate, plaintiffs have
       no procedural due process claim.

Veterans Legal Defense Fund v. Schwartz, 330 F.3d 937, 941 (7th Cir. 2003).

      Here, Jagatia never appealed the ruling that she was not within the category

of persons entitled to expedited review. She therefore failed to take advantage of

“adequate state remedies,” and she has “no procedural due process claim.” See id.

Additionally, the facts pleaded in the plaintiffs’ complaint are too conclusory to

allege Judge Djuristic’s ruling was manifestly erroneous. Even if it was, Judge

Djurisic is protected from liability by the doctrine of judicial immunity. Brokaw, 235

F.3d at 1015.

      It does not appear to the Court that any other deadlines were missed, but

even if they were, the relatively minor delays do not raise procedural due process

concerns.

                                  d.    Other Issues

      The   plaintiffs’   other   procedural   due   process   allegations   regarding

prosecutorial and witness misconduct are conclusory at best. Without more, the

attorney defendants are protected by prosecutorial immunity and the doctor

defendants are protected by witness immunity. See Ibitayo, 2013 WL 22765046, at

*4.

                   5.      Fourteenth Amendment Substantive Due Process

      The plaintiffs allege that in filing an indicated report with SCR that resulted

in their names being listed in a registry, defendants deprived them of their liberty



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interest in pursuing the profession of their choosing. The plaintiffs do not allege

what specific positions they were terminated from or ineligible for, but instead state

generally that they have been prevented from holding jobs that require contact with

children.

         As explained above, substantive due process “protects an individual from the

exercise of governmental power without a reasonable justification.” Belcher, 49 F.3d

at 753. The right to pursue a chosen career is not a fundamental right; as such,

rational basis review applies. Hughes v. Jones, 40 F. Supp. 3d 969, 986-88 (N.D. Ill.

2014).

         A plaintiff cannot state a substantive due process claim based on an SCR

registry listing where an unappealed administrative ruling held that the plaintiff

committed neglect, meaning that his or her name rightfully appears on the registry.

See id. at 984 (unlike procedural due process rights, substantive due process rights

depend on the merits of the claimant’s substantive assertions, and a plaintiff must

show that the denial of due process caused an injury); Lossman v. Pekarske, 707

F.2d 288, 291 (7th Cir. 1983) (same). Accordingly, the plaintiffs cannot state a

substantive due process claim based on the listing of their names on the SCR’s

registry.

         The plaintiffs also assert that the SCR is unconstitutional. They state that

“[a] registry listing amounts to ‘life sentence’ of being labeled a child abuser that

adversely impacts employment and education, charity and child-rearing.” R. 139

¶ 6. They allege that the SCR is available to “public and private employers and



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other organizations, even if there is no child connection to the work.” Id. ¶ 7; see

also id. ¶ 11.

       These allegations are false. The Illinois Abused and Neglected Children

Reporting Act, 325 ILCS 5/11, makes clear that “[a]ll records concerning reports of

child abuse or neglect . . . shall be confidential and shall not be disclosed except as

specifically authorized by this Act or other applicable law.” 325 ILCS 5/11. Only

certain authorized entities and persons, such as the operator of a licensed child care

facility, are able to obtain this information. 325 ILCS 5/11.1(12), 5/11.1(14),

5/11.1(15). And far from amounting to a “life sentence,” an individual’s name

appears on the SER listing for five years only, and listed individuals have a right to

appeal. R. 154, Ex. B at pp. 371-81. The plaintiffs were told as much in writing on

July 4, 2016. Id.

       For the same reason the plaintiffs fail to state a substantive due process

claim—i.e., because they never appealed the decision sustaining a finding of medical

neglect that justified the listing—they have not alleged that the SCR is

unconstitutional as applied to them. It necessarily follows that the plaintiffs cannot

make a viable constitutional challenge to the SCR on its face. Therefore, the

plaintiffs’ Motion to Declare the SCR Unconstitutional, R. 139, must be denied.

IV.    State Law Claims

       The plaintiffs also assert three tort claims under Illinois law: intentional

infliction of emotional distress, negligent infliction of emotional distress, and

invasion of privacy. Defendants do not argue that the plaintiffs have inadequately



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pleaded the elements of these claims. Defendants do, however, argue that the

plaintiffs’ state law claims should be dismissed under the Illinois Tort Immunity

Act.

       “The Illinois Tort Immunity Act shields state government employees from

liability for tortious acts committed in the course of one’s government employment.”

Bell v. Marseilles Elementary Sch. Dist. #150, 2001 WL 818897, at *5 (N.D. Ill. Mar.

7, 2001). But willful and wanton acts are specifically excluded. 745 ILCS 10/2-202.

Willful and wanton acts are those “which . . . if not intentional, show[] an utter

indifference to or conscious disregard for the safety of others or their property.” 745

ILCS 10/1-210. The willful and wanton standard can be highly fact-dependent:

“Under the facts of one case, willful and wanton misconduct may be only degrees

more than ordinary negligence, while under the facts of another case, willful and

wanton acts may be only degrees less than intentional wrongdoing.” Ziarko v. Soo

Line R. Co., 641 N.E.2d 402, 406 (Ill. 1994).

       Because negligence is by definition a lesser state of mind than willful and

wanton, “negligence claim[s are] barred by the Illinois Tort Immunity Act.”

Remblake v. Cty. of Will, 2010 WL 3732146, at *2 (N.D. Ill. Sept. 16, 2010) (quoting

Miller v. Womak, 2010 WL 2522994, at *1 (C.D. Ill. 2010)). Accordingly, the

plaintiffs’ negligent infliction of emotional distress claim is dismissed. See id.

(dismissing negligent infliction of emotional distress claim under Illinois Tort

Immunity Act); Cheatham v. City of Chicago, 2016 WL 6217091, at *2 (N.D. Ill. Oct.

25, 2016) (same).



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       The plaintiffs’ intentional infliction of emotional distress and invasion of

privacy claims, by contrast, require an intentional or reckless mental state and so

are not automatically barred by the Illinois Tort Immunity Act. Landstrom v. Ill.

Dep’t of Children & Family Serv., 699 F. Supp. 1270, 1281 (N.D. Ill. 1988) (elements

of intentional infliction of emotional distress claim include “intent by the defendant

to cause, or a reckless disregard of the probability of causing emotional distress”)

(quotation marks omitted); Busse v. Motorola, Inc., 813 N.E.2d 1013, 1017 (1st Dist.

2004) (intentionality is required for “invasion of privacy” tort under Illinois law).

Rather, the application of the Illinois Tort Immunity Act to these claims depends on

the specific facts asserted by the plaintiffs.

       The plaintiffs incorporate and assert the same factual basis to support their

intentional infliction of emotional distress and invasion of privacy claims that they

use to support their § 1983 claims. R. 1 ¶¶ 225-29, 235-39. They also allege that

defendants acted intentionally and in an offensive manner showing a conscious

disregard for the safety of A.T. R. 1 ¶¶ 225-29, 235-39. These allegations, coupled

with the allegations underlying the plaintiffs’ surviving § 1983 claims (i.e., the

Fourth and Fourteenth Amendment claims regarding the incident at the plaintiffs’

home), plausibly allege that defendants Rubio and Burleson engaged in willful and

wanton conduct. E.g., Hill v. Miller, 878 F. Supp. 114, 117 (N.D. Ill. 1995) (“While it

is true that merely claiming that certain conduct was ‘willful and wanton’ is

insufficient to survive a dispositive motion, the facts alleged here, if proven, would

support a claim”) (internal citation omitted). Thus, to the extent the plaintiffs’



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intentional infliction of emotional distress and invasion of privacy claims are co-

extensive with their surviving § 1983 claims against defendants Rubio and

Burleson, the intentional infliction of emotional distress and invasion of privacy

claims also survive. See, e.g., Landstrom, 699 F. Supp. at 1281-82 (intentional

infliction of emotional distress claim for invasive search of minor in DCFS

investigation survived motion to dismiss); Carlson ex rel. Stuczynski v. Bremen High

Sch. Dist. 228, 423 F. Supp. 2d 823, 830 (N.D. Ill. 2006) (invasion of privacy and

intentional infliction of emotional distress claims survived motion to dismiss based

on Illinois Tort Immunity Act).14

                                      Conclusion

         For the reasons set forth above, the following defendants are dismissed from

this case: Former-Director Sheldon in his individual and official capacities, Judge

Djurisic, Large, Pavelski, Lemon, Stephens, Epstein, Bicknese, Cirrillo, Mafee,

Marsillio, the John Doe defendants, the corporate defendants, and Lurie Hospital.

         The following claims are dismissed: under § 1983, the First Amendment

claim, the Fourth Amendment claims arising from the incidents at Lurie Hospital

and at A.T.’s public school, the Sixth Amendment claim, and the Fourteenth

Amendment procedural and substantive due process claims; the negligent infliction



14     The Court’s ruling does not preclude the defendants from raising the
applicability of the Illinois Tort Immunity Act again once the facts are further
developed. The ultimate determination of whether conduct rises to the level of
willful or wanton and the Illinois Tort Immunity Act applies often is “a question of
fact” that “depends on the facts and circumstances” of a given case. Harris v.
Thompson, 976 N.E.2d 999, 1011 (Ill. 2012).

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of emotional distress claim; any medical malpractice claim; and all equitable claims

(either   because   the   plaintiffs’   lack    standing   or   because   allegations   of

unconstitutional policies are conclusory). The plaintiffs’ First and Fourteenth

Amendment right to choose mode of medical treatment claims, the Fourth

Amendment claim based on the incident at A.T.’s public school, the Sixth

Amendment claim, the Fourteenth Amendment substantive due process claim, the

negligent infliction of emotional distress claim, and claims related to “medical

kidnapping” are dismissed with prejudice. All other claims are dismissed without

prejudice. If the plaintiffs believe they can cure the defects identified in this opinion,

they may move to file an amended complaint. Any such motion should be filed

within 21 days of the date of this ruling and should attach the proposed amended

complaint and a memorandum of no more than five pages explaining how the new

complaint cures the defects.

      The following claims survive defendants’ motions to dismiss: the plaintiffs’

Fourth and Fourteenth Amendment claims under § 1983 arising from the incidents

at the plaintiffs’ home against defendants Burleson and Rubio in their individual

capacities, and the plaintiffs’ intentional infliction of emotional distress and

invasion of privacy claims against Burleson and Rubio to the extent they are

coextensive with the remaining § 1983 claims.

      In addition to the pending motions to dismiss (R. 115, R. 117), this Opinion

and Order also resolves a number of other motions pending in this case. The

plaintiffs’ motion for additional service of summons and complaint by alternative



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means (R. 78) is denied as moot. The plaintiffs’ motions to file opposing memoranda

of law in connection with several of the defendants’ responses (R. 159) is granted.

The motion to intervene (R. 155) pertains to medical kidnapping and is dismissed

for lack of standing. The motion to declare the Adoption and Safe Families Act

unconstitutional (R. 156), related intervention motion (R. 155), and accompanying

declaration of Kathleen Clark (R. 186) are likewise dismissed for lack of standing.

The motion to declare Keppra dangerous (R. 164), related letter from Kathleen

Clark (R. 187), motion to appoint an expert (R. 167), and motion to order production

of medical records (R. 169) are stricken as contrary to this Court’s earlier ruling (R.

122). The motion to declare the DCFS practice of seizing, searching, and

interrogating children at public schools without parental consent and in the absence

of exigent circumstances unconstitutional (R. 177) is dismissed for the same reason

the Court has dismissed Claims 2 and 7 of the complaint. The “Motion to Order

Defendants George Sheldon and Deanna Large to remove Plaintiffs’ names from

Illinois SCR Register” (R. 95), the Lurie defendants’ motion to strike non-compliant

filings (R. 182), and the plaintiffs’ Motion to Declare the SCR Unconstitutional (R.

139) are all denied for the reasons set forth above. The DCFS defendants’ motion to

leave to file certain records under seal in conjunction with their response to the

plaintiffs’ Motion to Declare the SCR Unconstitutional (R. 152) is granted.




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                                            ENTERED:



                                            Honorable Thomas M. Durkin
                                            United States District Judge



Dated: September 18, 2017




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